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                            UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF PENNSYLVANIA
                                PITTSBURGH DIVISION

James Wright                                             Case No.:
92 Old Monongahela Pike
Eighty Four, PA 15330                                    Judge:

         Plaintiff,                                         COMPLAINT FOR DAMAGES
                                                              UNDER THE FAIR DEBT
v.                                                        COLLECTION PRACTICES ACT AND
                                                             OTHER EQUITABLE RELIEF
RPS Worldwide, Inc.
5924 S. Orange Ave.
Orlando, FL 32809                                         JURY DEMAND ENDORSED HEREIN

         Defendant.


                                   JURISDICTION AND VENUE

1. Jurisdiction is founded on 28 U.S.C. §1331 pursuant to the Fair Debt Collection Practices

     Act (FDCPA), 15 U.S.C. §1692. Venue is proper because a substantial part of the events

     giving rise to this claim occurred in this judicial district.

                                 FACTS COMMON TO ALL COUNTS

2. Plaintiff is a “consumer” as defined by 15 U.S.C. §1692a(3).

3. Plaintiff incurred a “debt” as defined by 15 U.S.C. §1692a(5).

4. At the time of the communications referenced herein, Defendant either owned the debt or

     was retained by the owner to collect the debt.

5. Defendant is a “debt collector” as defined by the FDCPA, 15 U.S.C. §1692a(6).

6. Plaintiff filed this claim within the timeframe permitted under the FDCPA.

7. On or around August 10, 2010, Defendant telephoned Plaintiff and left a voice message.

8. During this communication, Defendant threatened to sue Plaintiff unless Plaintiff contacted

     Defendant by 7:30pm.




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9. On or around August 10, 2010, Plaintiff telephoned Defendant.

10. During this communication, Defendant threatened to sue Plaintiff if Plaintiff tried to contact

   the original creditor.

11. During this communication, Defendant falsely represented that the balance of the debt would

   increase to $14,000 if Defendant sued Plaintiff.

12. During this communication, Defendant falsely represented that a lawsuit against Plaintiff

   could result in jail time.

13. At the time of these communications, Defendant had neither the intent nor ability to sue

   Plaintiff.

14. Defendant damaged Plaintiff emotionally and mentally and caused Plaintiff substantial

   anxiety and stress.

15. Defendant violated the FDCPA.

                                           COUNT ONE

                         Violation of the Fair Debt Collection Practices Act

16. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

17. Defendant violated 15 U.S.C. §1692e in that it falsely represented the character, amount,

   and/or legal status of the debt.

                                           COUNT TWO

                         Violation of the Fair Debt Collection Practices Act

18. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

19. Defendant violated 15 U.S.C. §1692e in that it threatened action that could not legally be

   taken and/or that was not intended to be taken.




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                                          COUNT THREE

                       Violation of the Fair Debt Collection Practices Act

20. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

21. Defendant violated 15 U.S.C. §1692e by making misrepresentations during its

    communications with Plaintiff.

                                           COUNT FOUR

                       Violation of the Fair Debt Collection Practices Act

22. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

23. The Defendant violated 15 U.S.C. §1692f in that its actions were unfair and/or

    unconscionable means to collect the debt.

                                          JURY DEMAND

24. Plaintiff demands a trial by jury.

                                      PRAYER FOR RELIEF

25. Plaintiff prays for the following relief:

            a. Judgment against Defendant for actual damages, statutory damages, and costs and

                reasonable attorney’s fees pursuant to 15 U.S.C. §1692k.

            b. For such other legal and/or equitable relief as the Court deems appropriate.

                                                RESPECTFULLY SUBMITTED,

                                                Legal Helpers, P.C.

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